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                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

DAVID COLEMAN and BRENDA                      :
COLEMAN,                                      :
                                              :
      Plaintiffs,                             :
                                              :    CIVIL ACTION FILE
      v.                                      :
                                              :    NO.
MS SERVICES, LLC,                             :
a Wyoming limited liability company,          :
                                              :
      Defendant.                              :
                                              :


                         COMPLAINT FOR DAMAGES

                               INTRODUCTION

1.    This is an action for damages against the defendant for violations of the

      Federal Fair Debt Collection Practices Act, 15 U.S.C. §§ 1692 et seq.



                      SUBJECT MATTER JURISDICTION

2.    Subject matter jurisdiction in this Court is proper pursuant to 15 U.S.C. §

      1692k(d) and 28 U.S.C. § 1337 (federal question jurisdiction).



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                PARTIES AND PERSONAL JURISDICTION

3.    Plaintiffs are residents of this State, District and Division and are authorized

      by law to bring this action.

4.    Defendant, MS SERVICES, LLC, is a corporation formed under the laws of

      the State of Wyoming. [Hereinafter, said Defendant is referred to as

      "MSS”].

5.    MSS transacts business in this state.

6.    MSS’s transactions in this state give rise to the Plaintiffs’ cause of action.

7.    MSS is subject to the jurisdiction and venue of this Court.

8.    MSS may be served by personal service upon its registered agent in the

      State of Wyoming, to wit: Daniel Price, 123 W. 1st Street, Suite 430, Casper,

      WY 82601, or wherever said agent may be found.

9.    Alternatively, MSS may be served upon any authorized agent or office at its

      principal place of business in the State of Wyoming, to wit: 123 W. 1st

      Street, Suite 430, Casper, WY 82601.

10.   Alternatively, MSS may be served by personal or substitute service pursuant

      to the Federal Rules of Civil Procedure and, as applicable, the laws of the

      States of Georgia or Wyoming.

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                        FACTS COMMON TO ALL CAUSES

11.   MSS uses the mails in its business.

12.   MSS uses telephone communications in its business.

13.   The principle purpose of MSS’s business is the collection of debts.

14.   MSS regularly collects or attempts to collect debts owed or due, or asserted

      to be owed or due, another.

15.   MSS is a debt collector subject to the provisions of the Fair Debt Collection

      Practices Act.

16.   In the course of attempting to collect a debt allegedly due from Plaintiffs to

      a business not a party to this litigation, MSS communicated with Plaintiffs

      in a manner which violated the Federal Fair Debt Collection Practices Act.

17.   In or around June 2010, MSS left a series of telephone messages for

      Plaintiffs requesting a return call.

18.   In the messages, MSS did not meaningfully disclose its identity.

19.   In the messages, MSS did not state that the communications were from a

      debt collector.

20.   In the messages, MSS did not state that the communications were an attempt

      to collect a debt.

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21.   Defendant’s communications violate the Fair Debt Collection Practices Act.

22.   Plaintiffs have complied with all conditions precedent to bring this action.



                              CAUSE OF ACTION

       COUNT ONE: FAIR DEBT COLLECTION PRACTICES ACT

23.   The acts of Defendant constitute violations of the Fair Debt Collection

      Practices Act.

24.   Defendant’s violations of the FDCPA include, but are not limited to, the

      following:

25.         The placement of telephone calls without meaningful disclosure of

            the caller’s identity, in violation of 15 U.S.C. § 1692d(6);

26.         The use of any false, deceptive, or misleading representations

            or means in connection with the collection of any debt, in

            violation of 15 U.S.C. § 1692e; and

27.         The failure to disclose in subsequent communications that the

            communication is from a debt collector, in violation of 15

            U.S.C. § 1692e(11).



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28.   As a result of Defendant’s actions, Plaintiffs are each entitled to an award of

      statutory damages, as well as an award of costs and attorney fees.

      WHEREFORE, PLAINTIFFS RESPECTFULLY PRAY THAT

JUDGMENT BE ENTERED AGAINST DEFENDANT AND IN FAVOR OF

PLAINTIFFS, AS FOLLOWS:

      a)      That Plaintiffs be awarded statutory damages;

      b)      That Plaintiffs be awarded the expenses of litigation including a

reasonable attorney fee;

      c)      That the Court declare each and every defense raised by Defendant to

be insufficient; and

      d)      That the Court grant such further and additional relief as is just in the

circumstances.
                    Respectfully submitted,



                                         /S/ James M. Feagle
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